Case 6:23-cv-00077-NKM Documenti1-1 Filed 12/11/23. Pagelof6 Pageid#: 15

SEARCH WARRANT

Commonwealth of Virginia VA. CODE §§ 19.2-56, 19,2-57

TO ANY AUTHORIZED OFFICER:

You are hereby commanded in the name of the Commonwealth to forthwith search the following place, person or thing:
Natural Bridge Zoo, 5784, 5746, 5742, 5826 S. Lee Highway, Natural Bridge, Virginia,
24578-3545; located inthe County of Rockbridge: County Geographic Information System parcel”
ID. 4106-12-3,.106-12-3C,.106-12-X,.1 06-11-4,.and.106-11-5..The.4 adjaining addresses (5 seis
Parcels) are encapsulated by Rices Hill Lane, S. Dry Well Road, and S. Lee Hwy, known as "
Natiital Bridgé 200" Sée Attachient’™ es saTeaumedsnaiasteo aasiniiSeaivabei Zaasabb6soiacob

meron aR Sc pm eee pamnemnnnmmnpuseeene srsone engi es for the following property, objects and/or persons:
Any and all records related to any animals, including but not limited to disposition records,

purchase and/or'sale records, transfer records, acquisition records; and/or import permits; USDA“
records; inventories: United States. Fish and Wildlife records; Department.of Wildlife Resources...
records; any and all medical records, invoices, tax records, See Attachment.

[¥] This SEARCH WARRANT authorizes a search of a place of abode which may be executed by initial entry of the abode
[ ] only in the daytime hours between 8:00 a.m. and 5:00 p.m., unless prior to the issuance of this SEARCH
WARRANT, law-enforcement officers lawfully entered and secured the place to be searched and remained at such
place continuously OR
|] at any time for good cause shown.

As this SEARCH WARRANT authorizes a search of a place of abode, you are required to be recognizable and
identifiable as a uniformed law-enforcement officer and to provide audible notice of your authority and purpose
reasonably designed to be heard by the occupants of the place to be searched prior to the execution of this
SEARCH WARRANT.

You are further commanded to seize said property, persons, and/or objects if they be found and to produce before

the ........ Rockbridge Circuit Court an inventory of all property, persons, and/or objects seized.

This SEARCH WARRANT is issued in relation to [] an offense substantially described as follows:
[ ] a person to be arrested for whom a warrant or process for arrest has been issued identified as follows:

3.2-6503 Care of companion animal by owner; 3.2-6503.1 Care of agricultural animal by owner;
3:2-6570 Cruelty to animals ee

I, the undersigned, have found probable cause to believe that the property or person constitutes evidence of the crime
identified herein or tends to show that the person(s) named or described herein has committed or is committing a crime, or
that the person to be arrested for whom a warrant or process for arrest has been issued is located at the place to be searched,
and further that the search should be made, based on the statements in the attached affidavit sworn to by

Sgt. C. M. Boczar

NAME OF AFF

DATE AND TIME { ]CLERK [ ] MAGISTRATE pen
FORM DC-339 (MASTER, PAGE ONE OF TWO) 03/21

FILE NO,

992-23
137-23

SEARCH WARRANT

COMMONWEALTH OF VIRGINIA

v./In re

Natural Bridge Zoo

Lt OV 8-930 ¢207
LYNOI LINDYID
ALNNOS 3901N8MION
gas

IN TESTIMONY that the foregoing is a true
copy taken from the records of this court

| hereby set my hand and affix the SEAL of
this Court.

This Bday of _‘Veeembey, 29 23

Michelle M. Trout, Clerk
Circuit Court of Rockbridge County, Virginia
y:

Case 6:23-cv-00077-NKM  Documenti1-1 Filed 12/11/23. Page2of6 Pageid#: 16

SEARCH INVENTORY AND RETURN

The following items, and no others, were seized under authority of this WARRANT:

Le ene PEE. ATTAMOENT

[i468 /e3 SA 6 2 SPENSEE

DATE EXECUTING OFFICER

lh BAP RR pect “ &

pATE (AOLERK J [ ]MA@ISTRATE — [ ]sDGq
Vw e

EXECUTION

Executed by searching the within described
place, person or thing.

_ [2f0be3. 0703. peo.

DATE AND TIME EXECUTED

CA GR Spercee

EXECUTING OFFICER

Certified to Rockbridge

Circuit Court on ..... AA #/2023 = =

DATE

SA 6G & Server

EXECUTING OFFICER

State Of oo...cc.cccccccecceeeceeueeceeeeceeeceuecsseessenees [ PGi [CSE OF. ..ncisecsasieasaattiaaseetarisbistedtcabeermcrese<emoos
Acknowledged, subscribed and sworn to before me this ............ GAS OE sesccasassnednaxsacsnmas vemos PU asaicnenen
— NOTARY REGISTRATION NUMBER NOTARY PUBLIC
(My COMMISSION EXPIRES: Gaiesicccewsiceriwerssveseswewereree )

Received [74 in person [ ] by certified mail
{ ] by electronically transmitted
facsimile

OD cece 1248\Z02@B

DATE

by: . ifs
CLERK ()F CIRCUIT COURT

FORS] DC-339 (MASTER, PAGE TWO OF TWO) 01/09

Case 6:23-cv-00077-NKM Documenti-1 Filed 12/11/23. Page3of6 Pageid#: 17

Search Warrant FILE NO. 992-23

TO ANY AUTHORIZED OFFICER: You are hereby commanded in the name of the Commonwealth to
forthwith search the following place, person or thing:

Continued,

All parcels are zoned commercially or as “vacant lot” and are owned by Natural Bridge Zoo, LLC., Karl E.
Mogensen, and/or Pamela Mogensen. Natural Bridge Zoo’s, State Corporation Commission registered
agent is Deborah L. Mogensen. The entrance of Natural Bridge Zoo is a tan building with a green roof. It
is two stories on one side and a single story on the other. The property is clearly marked with a sign that
reads “Natural Bridge Zoo,” “Main Entrance,” with its hours of operation. To the right of the parking
area and entrance is a large statue of an elephant standing on its hind legs. The parcels combined are
approximately 19 acres. The parcels are comprised of multiple habitats, walkways/paths, breeding area,
gift shop, restrooms, picnic area, storage areas/structures, and other business/zoo use areas. Karl and
Debbie Mogensen are the owners and operators of Natural Bridge Zoo. The Mogensen’s reside on the
property in a residence located at 5746 S. Lee Highway, Natural Bridge, VA. This residence is located
within the confines of the zoo. The residence is a single story structure with a basement, there are 3
skylights in the roof area that faces S. Lee Highway. The residence is located at the employee entrance
to the park just behind the gate located between the parking lot and the “restricted area” of the zoo.

The residence stores animal food and what appears to be the office where paperwork is kept for the zoo
business and breeding operation.

for the following property, objects and/or persons:

Continued.

business registration documents, records of donations (of animals) made or received, animal care
records, veterinary records, animal feed records, Certificates of Veterinary Inspection, transportation
records, sales receipts, daily visitor logs, and communications or documents about the care of and
handling of any animal. The contents of any vehicles that may be used to transport or house any
animal(s). All alive, dead, and unborn animals. All digital storage device including but not limited to

cameras, computers, external hard drives, and cellular telephones and the examination of their
contents.
Case 6:23-cv-00077-NKM  Documenti1-1 Filed 12/11/23

Ses Se ee

Attachment:

12 WHITE FACED CAPUCHIN

4 BROWN FACED CAPUCHIN

2 RED RUFFED LEMUR

3 BLACK & WHITE RUFFED LEMUR
6 COTTON TOP TAMARIN

2 GIBBON

2 SACRED IBIS

3 GROUND HORNBILL'S

1 KOOKABURRA

. 15 MACAWS

- 4 AMAZON PARROT

. 2 PINK GRAY COCKATOO

. LSULFER CRESTED COCATOO

. LSERVAL

. 2 BURMESE PYTHON

. 2 BALL PYTHON

. 5 RED-EARED SLIDER

. 1 PAINTED TURTLE

. 1 SKINK

. 14 TORTOISE

. 1 MINI DONKEY

. 1 DONKEY

. J SHEEP

. 2LLAMA

. DOG (KUVASZ TYPE)

. LT EUTHANIZED WHITE BENGAL TIGER
. 7 DECEASED SERVAL

. 1 DECEASED DOG KUVASZ TYPE

. 1 GIRAFFE CAPE (SKIN)

. 1 DECEASED LLAMA

. 5 DECEASED CRANE

. 1 DECEASED DE BRAZZA'S

. 1 DECEASED ALLIGATOR

. LEGS OF ZEBRA

. 1 DECEASED RED RUFFED LEMUR

. 1 GIRAFFE HEAD

. 1 DECEASED GUENON

. 1 DECEASED MANDRILL

. 1 DECEASED GREY CROWNED CRANE
. 2 DECEASED GROUND HORNBILLS

. 1 DECEASED WHITE FACED CAPUCHIN
. 1 DECEASED GREEN WINGED MACAW
. 1 DECEASED SITATUNGA

Page 4 of 6

Pageid#: 18
Case 6:23-cv-00077-NKM  Documenti1-1 Filed 12/11/23

44,
45.
46.
47.
48.
49.
50.
a1.
52.
53.
54,
52
56.

Attachment:

1 MANDRILL HEAD

1 BONGO PELT

1 DECEASED GIBBON 2 GIRAFFE TAILS
1 ZEBRA PELT

1 DECEASED BURMESE PYTHON

3 GIRAFFE LEGS

5 BAGGIES FROZEN GIRAFFE FECES
3 SPECIMEN JARS LABALED "ASHA"
DVR's

computers

documents

cell phones and digital data

log books

Page 5 of 6

Pageid#: 19
Case 6:23-cv-00077-NKM Documenti1-1 Filed 12/11/23 Page6of6 Pageid#: 20

Addendum to Inventory for Search Warrant File No. 992-23, Executed 12/6/23 at 0703 hours

« 6 Ring Tailed Lemurs

GAG LR Spércee 26/23 162/Hes

~ >
=a CS
SS oo
=e
mA 2a
& =3F
omm
200
IN TESTIMONY that the foregoing ts 4 true S2
copy taken from the records of this court = $4S
| hereby set my hand and affix the SEAL of =
this Court s,
This 3Y_ day of “December, 20>

Michelle M. Trout, Clerk
Circuit Court of Rockbridge County, Virginia
by:

